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                                        County Civil

  Case Number                                       Court
    1177115                                           All

  Status
    -All

  File Date (From)                                  File Date (To)
    MM/DD/YYYY                                        MM/DD/YYYY



    SEARCH         CLEAR




     Party    Attorney     Company

  Last Name                                         First Name




  Bar Card Number                                   File Date (From)
                                                      MM/DD/YYYY

  File Date (To)
    MM/DD/YYYY



    SEARCH         CLEAR


                                        13 Record(s) Found.                                  
   Case              File Date   Type     Subtype   Style              Status   Judge    Court
                                 Desc




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http://apps.intra.cclerk.hctx.net/MasterInquiry/CourtSearch_R.aspx?ID=MWtEtdfX0YtNP... 1/19/2022
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  1177115          10/29/2021    OTHER                        JOHN              Open       JIM          2
                                                                                                            
                                 INJURY                  GARCIA,CLAUDIA                  KOVACH
                                   OR                   TURCIOS,A. L.,N. L.
                                DAMAGE                      VS HARRIS
                                                           COUNTY,ED
                                                        GONZALEZ,DEPUTY
                                                             PAMELA
                                                        WEBSTER,DEPUTY
                                                          V ESQUEDA,LT
                                                             CLOSLEY

      Event       Event Desc                 Comments                                             Pgs
      Date

     12/21/2021 Original Petition Citation   M/O ATTY                         Original Petition
                                                                                                    1
                Issued                                                        Citation

     12/21/2021 Original Petition Citation   M/O ATTY                         Original Petition
                                                                                                    1
                Issued                                                        Citation

     12/21/2021 Original Petition Citation   M/O ATTY                         Original Petition
                                                                                                    1
                Issued                                                        Citation

     12/21/2021 Original Petition Citation   M/O ATTY                         Original Petition
                                                                                                    1
                Issued                                                        Citation

     12/21/2021 Original Petition Citation   M/O ATTY                         Original Petition
                                                                                                    1
                Issued                                                        Citation

     12/16/2021 Order of Transfer                                             Order of Transfer
                                                                                                  1
                (accepted by Judge)                                           (Recusal)
                                                                              Order of Transfer
                                                                                                  2
                                                                              (accepted by Judge)

     11/04/2021 Citation to Be Issued                                         POS-Deputy Pamela
                                                                                                1
                                                                              Webster (1).pdf

     11/04/2021 Citation to Be Issued                                         POS-Lt Closley
                                                                                                    1
                                                                              (1).pdf

     11/04/2021 Citation to Be Issued                                         POS-Harris County
                                                                                                    1
                                                                              (1).pdf

     11/04/2021 Citation to Be Issued                                         POS-Ed Gonzalez
                                                                                                    1
                                                                              (1).pdf

     11/04/2021 Citation to Be Issued                                         POS-Deputy V
                                                                                                    1
                                                                              Esqueda (1).pdf

     10/29/2021 eFile Original Petition      Petition                     JOHN GARCIA-
                                                                                                   11
                                                                                                            
                                                                          Petition (2).pdf
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     10/29/2021 Original Petition (OCA)




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